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 1   Angel R. Sevilla (State Bar No. 239072)
     Jessica C. Shafer (State Bar No. 297856)
 2   Julianna Bramwell (State Bar No. 339794)
     JACKSON LEWIS P.C.
 3   50 California Street, 9th Floor
     San Francisco, California 94111-4615
 4   Telephone: (415) 394-9400
     Facsimile: (415) 394-9401
 5   E-mail: Angel.Sevilla@jacksonlewis.com
     E-mail: Jessica.Shafer@jacksonlewis.com
 6   E-mail: Julianna.Bramwell@jacksonlewis.com
 7   Attorneys for Defendant
     CALIFORNIA COLLEGE OF THE ARTS
 8
     Mark L. Javitch (CA SBN 323729)                   Lori Lowenthal Marcus* (PA 53388)
 9   Javitch Law Office                                Jerome Marcus* (PA SBN 50708)
     3 East 3rd Ave. Ste. 200                          The Deborah Project
10
     San Mateo, CA 94401                               P.O.B. 212
11   Telephone: (650) 781-8000                         Merion Station, PA 19066
     Facsimile: (650) 648-0705                         610.880.0100
12   mark@javitchlawoffice.com                         jmarcus@deborahproject.org
                                                       rghatan@deborahproject.org
13   Attorneys for Plaintiff
     KAREN FISS                                        * Admitted Pro Hac Vice
14

15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17

18   KAREN FISS,                                        Case No. 4:24-cv-03415-HSG

19                  Plaintiff,                          JOINT STIPULATION AND
                                                        ORDER TO CONTINUE HEARING
20                  v.                                  ON MOTION TO DISMISS AND
                                                        EXTEND BRIEFING SCHEDULE
21   CALIFORNIA COLLEGE OF THE ARTS,                    (DKT. 35)

22                  Defendant.                          Complaint Filed:         06/06/2024
                                                        First Amended Complaint: 09/05/2024
23                                                      Trial Date:              Not Set

24

25           Pursuant to Fed. R. Civ. P. 6(b)(1) and Civil L.R. 6-2, Plaintiff KAREN FISS and
26   Defendant CALIFORNIA COLLEGE OF THE ARTS (“CCA” or together, “Parties”), by and
27   through the undersigned counsel, have conferred, hereby stipulate to, and respectfully request the
28    Court find good cause warrants moving the hearing date on Defendant’s Motion to Dismiss and
                                                     1
     Joint Stipulation and Order to Continue Hearing
     and Extend Briefing Schedule                                   Case No. 4:24-cv-03415-HSG
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 1   extending the briefing schedule for CCA’s Motion to Strike as described herein.
 2           WHEREAS, on October 15, 2024, CCA filed its Motion to Dismiss the First Amended
 3   Complaint (the “Motion to Dismiss”) (Dkt. No. 35);
 4           WHEREAS, on November 5, 2024, Fiss filed her Opposition to the Motion;
 5           WHEREAS, on November 11, 2024, Marc A. Greendorfer of the Zachor Legal Institute
 6   filed a Motion for Leave to File Brief of Amicus Curiae regarding CCA’s Motion;
 7           WHEREAS, on November 12, 2024, this Court granted Mr. Greendorfer’s Motion to File
 8   a Brief Amicus Curiae;
 9           WHEREAS, on November 19, 2024, CCA filed its Reply in Support of the Motion to
10   Dismiss;
11           WHEREAS, on November 19, 2024, CCA filed a Motion to Strike the Statements in
12   Plaintiff’s Opposition to the Motion to Dismiss (the “Motion to Strike”) (Dkt. No. 45);
13           WHEREAS, the earliest date which CCA could have its Motion to Strike heard was
14   January 9, 2025;
15           WHEREAS, the Motion to Dismiss (Dkt. No. 35) is set to be heard on December 5, 2024;
16           WHEREAS, the Parties agree to extend and coordinate the briefing schedule for the
17   Motion to Strike in light of the intervening holidays;
18           WHEREAS, the Parties agree that it is in the interest of judicial economy that the Motion
19   to Dismiss and the Motion to Strike be heard at the same time;
20           THEREFORE, the Parties stipulate to the following:
21           1.     Plaintiff’s deadline to file her opposition to the Motion to Strike is December 12,
22   2024;
23           2.     Defendant’s deadline to file its Reply in Support of the Motion to Strike is
24   December 30, 2024;
25           3.     Defendant’s deadline to file its response, if any, to Zachor Legal Institute’s Brief
26   of Amicus Curiae is December 30, 2024; and
27   ///
28   ///
                                                       2
     Joint Stipulation and Order to Continue Hearing
     and Extend Briefing Schedule                                       Case No. 4:24-cv-03415-HSG
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 1           4.     The date of the hearing on the Motion to Dismiss (Dkt. No. 35) is continued to
 2   January 9, 2025 at 2:00 p.m.
 3   Dated: November 27, 2024                               JACKSON LEWIS P.C.

 4

 5                                               By:        /s/ Julianna Bramwell
                                                            Angel R. Sevilla
 6                                                          Jessica C. Shafer
                                                            Julianna Bramwell
 7                                                          Attorneys for Defendant
                                                            CALIFORNIA COLLEGE OF THE ARTS
 8                                                             “Pursuant to L.R. 5-1(i)(3), I hereby attest
                                                                concurrence in the filing of this document
 9                                                            has been obtained from the other Signatory
                                                                 by e-mail November 27, 2024 12:14 PM,
10                                                            which shall serve in lieu of his signature on
                                                                 the document indicated sby a conformed
11                                                           signature (/s/) within this e-filed document.”
12   DATED: November 27, 2024                               By: /s/ Mark L. Javitch
                                                            Mark L. Javitch (CA SBN 323729)
13                                                          Javitch Law Office
14                                                          3 East 3rd Ave. Ste. 200
                                                            San Mateo, CA 94401
15                                                          Tel: (650) 781-8000
                                                            Fax: (650) 648-0705
16                                                          mark@javitchlawoffice.com
17                                                          Lori Lowenthal Marcus* (PA 53388)
18                                                          Jerome Marcus* (PA SBN 50708)
                                                            The Deborah Project
19                                                          P.O.B. 212
                                                            Merion Station, PA 19066
20                                                          610.880.0100
                                                            jmarcus@deborahproject.org
21
                                                            rghatan@deborahproject.org
22
                                                            Attorneys for Plaintiff
23                                                          KAREN FISS

24                                                          * Admitted Pro Hac Vice
25

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                                                       3
     Joint Stipulation and Order to Continue Hearing
     and Extend Briefing Schedule                                         Case No. 4:24-cv-03415-HSG
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 1                                                  ORDER
 2            Having reviewed and considered the parties’ submissions, the Court hereby GRANTS the
 3   Parties stipulation that:
 4            1.       Plaintiff’s deadline to file her opposition to the Motion to Strike is December 12,
 5                     2024;
 6            2.       Defendant’s deadline to file its Reply in Support of the Motion to Strike is
 7   December 30, 2024;
 8            3.       Defendant’s deadline to file its response, if any, to Zachor Legal Institute’s Brief
 9   of Amicus Curiae is December 30, 2024; and
10            4.       The date of the hearing on the Motion to Dismiss (Dkt. No. 35) is continued to
11   January 9, 2025, at 2:00 p.m.
12            IT IS SO ORDERED.

13

14            Dated:        12/2/2024                        ____________________________________
                                                             Hon. Haywood S. Gilliam, Jr.
15                                                           United States District Judge
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28   4922-0011-1872, v. 2
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     Joint Stipulation and Order to Continue Hearing
     and Extend Briefing Schedule                                          Case No. 4:24-cv-03415-HSG
